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          EXHIBIT H
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C      U        R        R       I       C       U       L      U       M             V        I      T       A       E


                                              Francine Lafontaine


     Current          Associate Dean for Business + Impact, July 2020 -
    Positions
                      William Davidson Professor of Business Economics and Public Policy, 2010-
                        Stephen M. Ross School of Business
                        701 Tappan St.
                        Ann Arbor, MI 48109
                        laf@umich.edu

                      Professor of Economics, University of Michigan Dept. of Economics, 2001-
                      Research Fellow, Centre for Economic Policy Research, London, UK, 2017-

    Previous        Senior Associate Dean for Faculty and Research, Jan. 2016 - June 2020.
    Positions       Director, Bureau of Economics, U.S. Federal Trade Commission, November 2014 - December
                    2015.
                    Visiting Scholar, MIT Sloan School of Management, Jan. 2013 – July 2013.
                    Visiting Scholar, Graduate School of Business, Stanford University, Aug. 2012 – Dec. 2012.
                    Professor of Business Economics, Ross School of Business, University of Michigan, 2000 – 2010.
                    Visiting Professor, School of Management, Politecnico di Milano, Milano Italy, May 2008.
                    Visiting Professor, Institut de Gestion de Rennes, Université de Rennes I, Rennes, France, June
                    2004.
                    Faculty Research Fellow, National Bureau of Economic Research (NBER), 1993-2002.
                    Associate Professor of Business Economics, University of Michigan Business School, 1995-2000.
                    Visiting Associate Professor of Economics, Université de Paris I - Panthéon Sorbonne, Spring
                    1999 and Spring 2000.
                    Visiting Associate Professor of Economics, University of Florida, 1997-1998.
                    Assistant Professor of Business Economics, University of Michigan Business School, 1991-95.
                    Assistant Professor of Economics and Marketing, Graduate School of Industrial Administration,
                    Carnegie Mellon University, 1989-93 (on leave 1991-93).
                    Research Fellow in Economics and Marketing, Graduate School of Industrial Administration,
                    Carnegie Mellon University, 1988-89.
                    Research Associate, Centre d'études en administration internationale, Ecole des Hautes Etudes
                    Commerciales, Université de Montréal, 1981-83.

    Education       Ph.D.     Economics, 1988. University of British Columbia, Vancouver, Canada.
                    M.Sc.     Applied Economics, 1982. Ecole des HEC, Université de Montréal, Canada.
                    B.A.A.    (BBA), 1980. Ecole des HEC, Université de Montréal, Canada.

    Research        Industrial Organization, Vertical Relationships and Antitrust, Contracting and Franchising,
    Interests       Entrepreneurship. My research applies advances in contract theory and models of vertical
                    relationships to the analysis of franchising arrangements and other contractual relationships, with
                    an emphasis on incentive issues, firm performance, and competition policy. I also study industry
                    and firm dynamics (entry, exit, growth) in retail and service industries.

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 Awards and     Andy Andrews Service Award, Ross School of Business, 2020-21.
    Honors      President, Society for Institutional & Organizational Economics, 2018-19, President Elect, 2017-
                18, Second Vice President, 2016.
                Doctorat Honoris Causa (Honorary Doctorate), Université de Rennes 1, March 2013.
                Senior Faculty Research Award, Ross School of Business, 2012-2013.
                President, Society of Industrial Organization, 2010-12; Vice-President, 2008-10.
                Sparks Whirlpool Corporation Research Professorship, Ross School of Business, 2005-07.
                Chair, International Society of Franchising, 1997-98; Advisory Board Member, 2007-2014.
                Sanford R. Robertson Associate Professorship, U. of Michigan Business School, 1995-96.
                Coleman Foundation Best Paper Award, 2nd Place, 1995 Society of Franchising Meetings.
                Doctoral Fellowship, Social Sciences and Humanities Research Council of Canada, 1983-84 to
                1986-87.
                Master's Degree Scholarship, Fonds F.C.A.C. pour l'aide et le soutien à la recherche, 1980-81 and
                1981-82.

   Research     Mitre Research Fund, University of Michigan Dept. of Economics, with Ying Fan, 2013-14.
     Grants
                University of Michigan Center for International Business Education Award for Faculty Research
                in International Business, 2004-08, 2010.
                Sloan Foundation grant to the Trucking Industry Program, yearly, 1995-2004.
                Co-principal Investigator, NSF Research Grant for “The Dynamics of Franchise Contracting”,
                with Kathryn Shaw, 1993-96.
                Sloan Foundation Grant to the Center for Political Economy, GSIA, Carnegie Mellon University,
                Summers of 1990 and 1991.
                Carnegie Mellon University Faculty Development Grant for “Franchising and Agency Theory:
                Some Further Developments,” November 1989-July 1990.
                Principal investigator, NSF Research Planning Grant for “An Empirical Look at Franchise
                Contracts as Signaling Devices,” August 1989-August 1990.

      Books     Monograph:

                The Economics of Franchising (with Roger Blair), Cambridge: Cambridge University Press,
                2005. A new paperback edition, with new preface by the authors, was released in 2011.

                Edited Volume:

                Franchise Contracting and Organization, Northampton, MA: Edward Elgar, 2005.

 Articles and   “The Recent Evolution of Physical Retail Markets: Online Retailing, Big Box Stores, and the Rise
        Book    of Restaurants,” (with Jagadeesh Sivadasan), in The Role of Innovation and Entrepreneurship in
    Chapters    Economic Growth, Aaron Chatterji, Josh Lerner, Scott Stern, and Michael J. Andrews, University
                of Chicago Press, forthcoming.
                “Brighter Prospects? Assessing the Franchise Advantage using Census Data” (with Marek
                Zapletal and Xu Zhang), Journal of Economics and Management Strategy, 28:2, 175-197. (Lead
                Article), 2019.




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  Articles and   “Investigating a Merger in the Pharmacy Benefit Management Industry: The Express Scripts
Book Chapters    Acquisition of Medco (2012),” (with Christopher J. Metcalf, David R. Schmidt, and Brett W.
      (cont’d)   Wendling), The Antitrust Revolution, 7th edition, 2018.
                 “Financial Constraints and Moral Hazard: The Case of Franchising” (with Ying Fan and Kai-
                 Uwe Kuhn), Journal of Political Economy, 125(6): 2082-2125, 2017.
                         Best paper award, International Society of Franchising, March 2013.
                 “The Quality of Institutions and Organizational Form Decisions: Evidence from Within the
                 Firm,” (with Rozenn Perrigot and Nathan Wilson), Journal of Economics and Management
                 Strategy, 26(2), 375-402, 2017.
                 “Price Delegation and Performance Pay: Evidence from Industrial Sales Forces” (with Desmond
                 Ho-Fu Lo, Wouter Dessein and Mrinal Ghosh), Journal of Law, Economics, and Organization,
                 32(3): 508-544, 2016.
                 “Serial Entrepreneurship: Learning by Doing?” (with Kathryn L. Shaw), Journal of Labor
                 Economics, 34(S2): S217–S254, 2016.
                 “On the Use of Economics in Support of the Competition Mission at the FTC,” in Global
                 Antitrust Economics, Current Issues in Antitrust and Law & Economics, Douglas H. Ginsburg
                 and Joshua D. Wright, (eds), 43-50, 2016.
                 “Discussion of Wouter Dessein's Incomplete Contracts and Firm Boundaries: New Directions,”
                 The Impact of Incomplete Contracts on Economics, Philippe Aghion, Mathias Dewatripont,
                 Patrick Legros, Luigi Zingales (eds), New-York: Oxford University Press, 61-64, 2016.
                 “Economics at the FTC: Fraud, Mergers and Exclusion,” (with David Balan, Patrick DeGraba,
                 Patrick McAlvanah, Devesh Raval and David Schmidt), Review of Industrial Organization,
                 47(4): 371-398, 2015.
                 “Do Large Retailers Pay Premium Wages?” (with Brianna Cardiff-Hicks and Kathryn L. Shaw).
                 Industrial and Labor Relations Review, 68(3): 633-665, 2015.
                 “Formula Pricing and Profit Sharing in Inter-Firm Contracts” (with Roger Blair), Managerial
                 and Decision Economics, Special Issue on Ronald Coase and the Theory of the Firm, Lowell
                 Jacobsen (ed.) 36(1): 33-43, 2015.
                 “Franchising and Exclusive Distribution: Adaptation and Antitrust” (with Margaret Slade), in
                 Oxford Handbook on International Antitrust Economics, Roger Blair and Daniel Sokol (eds.),
                 Oxford University Press, 2014.
                 “Incentive and Strategic Contracting: Implications for the Franchise Decision,” (with Margaret
                 E. Slade) in Game Theory and Business Applications, Second Edition, K. Chatterjee and W.
                 Samuelson (eds.) Kluwer Academic Press, 2014.
                 “Franchising: Directions for Future Research,” International Journal of the Economics of
                 Business, Special 20th Anniversary Issue on The Economics of Business: Perspectives on
                 Research, H. E. Frech III and Eleanor J. Morgan editors, 21(1): 21-25, 2014.
                 “Too Far Away? The Effect of Distance to Headquarters on Business Establishment
                 Performance” (with Arturs Kalnins) American Economic Journal: Microeconomics, 5(3): 157-
                 79, 2013.
                 “Organizational Form and Performance: Evidence from the Hotel Industry,” (with Renáta
                 Kosová and Rozenn Perrigot). 2013. The Review of Economics and Statistics, 95(4): 1303-1323.
                 “Inter-Firm Contracts: The Evidence” (with Margaret Slade), in Handbook of Organizational
                 Economics, R. Gibbons and J. Roberts (eds.) Princeton University Press, 2012.
                 “Using Revenue Sharing to Implement Flexible Prices: Evidence from Movie Exhibition
                 Contracts” (with Ricard Gil), Journal of Industrial Economics, 60 (2): 187–219, 2012.




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  Articles and   “Much Ado about Chains: A Research Agenda,” (with Renáta Kosová), International Journal
Book Chapters    of Industrial Organization, 30: 303–308, 2012.
      (cont’d)   “Understanding Franchising: A New Look at U.S. Franchisor Activities” (with Renáta Kosová),
                 Economies et Sociétés, série Dynamique Technologique et Organisation, n° 13, 2011.
                 “The Incentive and Selection Roles of Salesforce Compensation Contracts” (with Desmond Ho-
                 Fu Lo and Mrinal Ghosh), Journal of Marketing Research, 48 (4): 781-798, 2011.
                 “Survival and Growth in Retail and Service Industries: Evidence from Franchised Chains” (with
                 Renáta Kosová), Journal of Industrial Economics, 58(3): 542-578, 2010.
                 “Transaction Cost Economics and Vertical Market Restrictions—Evidence” (with Margaret
                 Slade), The Antitrust Bulletin, 55 (3), Fall 2010.
                 “Markets: State Franchise Laws, Dealer Terminations, and the Auto Crisis” (with Fiona Scott
                 Morton), Journal of Economic Perspectives, 24 (3): 233-50, 2010.
                  “Do Labor Market Rigidities Have Microeconomic Effects: Evidence from Within the Firm,”
                 (with Jagadeesh Sivadasan), American Economic Journal – Applied, 1 (2): 88-127, 2009.
                 “The Evolution of Franchising and Franchise Contracts: Evidence from the United States,”
                 Entrepreneurial Business Law Journal, 3: 381-434, 2009.
                 “Within-firm Labor Productivity across Countries: A Case Study” (with Jagadeesh Sivadasan),
                 in International Differences in the Business Practices and Productivity of Multinational Firms:
                 A Case-Based Approach, Richard Freeman and Kathryn L. Shaw ed., NBER and University of
                 Chicago Press, 2009.
                 “The Deregulation of International Trucking in the European Union: Form and Effect” (with
                 Laura Malaguzzi), Journal of Regulatory Economics, 35: 19-44, 2009.
                 “Franchising,” The New Palgrave Dictionary of Economics. Second Edition. Eds. Steven N.
                 Durlauf and Lawrence E. Blume. Palgrave Macmillan, 2008. Also in The New Palgrave
                 Dictionary of Economics Online. Palgrave Macmillan.
                 <http://www.dictionaryofeconomics.com/article?id=pde2008_F000200>
                 “Empirical Assessment of Exclusive Contracts” (with Margaret Slade), in Handbook of
                 Antitrust Economics, Paolo Buccirossi (ed.) Cambridge: MIT Press, 2008.
                 “Vertical Integration and Firm Boundaries: The Evidence” (with Margaret Slade), Journal of
                 Economic Literature, 45: 629-685, 2007.
                 “Understanding the Economics of Franchising and the Laws That Regulate It” (with Roger
                 Blair), Franchise Law Journal, 26: 2-13, 2006.
                 “Vertical Restraints Fundamentals for MBAs,” Journal of Industrial Organization Education,
                 Inaugural issue, 1, December 2006. (http://www.bepress.com/jioe/vol1/iss1/2/)
                 “Introduction” (with Timothy H. Linville and Su Sun), in A Handbook on The Law and
                 Economics of Vertical Restraints: Selling Through Dealers and Franchisees, Thomas J. Collin
                 and Matthew B. Wright, Eds, American Bar Association, 2006.
                 “Truck Drivers in the Age of Information: Transformation without Gain” (with Dale Belman
                 and Kristen Monaco), in Belman D. and C. White III, Trucking in the Age of Information,
                 Aldershot, UK: Ashgate Publishing Ltd., 2006.
                 “Targeting Managerial Control: Evidence from Franchising” (with Kathryn L. Shaw), RAND
                 Journal of Economics, 36, 2005, 131-150.
                         Reprinted in Franchise Contracting and Organization, Northampton, MA: Edward
                         Elgar, 2005.
                 “International Franchising Practices in Mexico: Do Franchisors Customize their Contracts?”
                 (with Joanne Oxley), Journal of Economics and Management Strategy, 13, 2004, 95-123.



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  Articles and   “Multi-Unit Ownership in Franchising: Evidence from the Fast-food Industry in Texas” (with
Book Chapters    Arturs Kalnins), RAND Journal of Economics, 35, 2004, 747-761.
      (cont’d)   “Incentive Contracting and the Franchise Decision” (with Margaret Slade), in Advances in
                 Business Applications of Game Theory, K. Chatterjee and W. Samuelson (eds.), Kluwer
                 Academic Press, 2001.
                 “The Effect of Macroeconomic Conditions on Franchisor Entry and Survival” (with Su Sun), in
                 Frazer, L. Ed., Fifteenth Annual Proceedings of the International Society of Franchising, 2001.
                 “Créance résiduelle et flux de rentes comme mécanismes incitatifs dans les contrats de
                 franchise: Compléments ou Substituts?” (with Emmanuel Raynaud), Revue d’économie
                 industrielle, 92, 2000, 255-276.
                         An updated and translated version of this paper has appeared as “Residual claims and
                         self enforcement as incentive mechanisms in franchise contracts: substitute or
                         complements,” in Brousseau, E. and J.M. Glachant Ed., The Economics of Contract in
                         Prospect and Retrospect, (2002), Cambridge University Press.
                         The English version is also reprinted in Franchise Contracting and Organization,
                         Northampton, MA: Edward Elgar, 2005.
                 “The Dynamics of Franchise Contracting: Evidence from Panel Data” (with Kathryn L. Shaw),
                 The Journal of Political Economy, 107, 1999, 1041-1080.
                         Reprinted in Empirical Industrial Organization, Paul Joskow and Michael Waterson,
                         Eds., Cheltenham, UK: Edward Elgar Publishing, Ltd.
                         Reprinted in The International Library of the New Institutional Economics, Claude
                         Ménard, Ed., UK: Edward Elgar Publishing, Ltd., 2005.
                 “Franchising: Myth, Reality, and What it May All Mean to You,” Financial Times, Mastering
                 Strategy Series, November 22, 1999.
                         An edited version has appeared in the FT Mastering Management Review, October
                         1999, 32-35.
                         Reprinted in T. Dickson (Ed.), Mastering Strategy, London: Financial Times / Prentice
                         Hall, 2000, 140-145.
                 “Will Khan Foster or Hinder Franchising? An Economic Analysis of Maximum Resale Price
                 Maintenance” (with Roger Blair), Journal of Public Policy in Marketing, 18, 1999, 25-36.
                 “Franchising or Corporate Ownership: The Effect on Price Dispersion,” The Journal of Business
                 Venturing, 14, 1999, 17-34.
                  “Franchising Growth and Franchisor Entry and Exit in the U.S. Market: Myth and Reality”
                 (with Kathryn L. Shaw), The Journal of Business Venturing, 13, 1998, 95-112.
                         Reprinted in Franchising: An International Perspective, Frank Hoy and John
                         Stanworth Ed., London: Routledge, 2003.
                 “Retail Contracting: Theory and Practice” (with Margaret Slade), Journal of Industrial
                 Economics, 45, 1997, 1-25.
                 “The Economics of Franchising: Some Thoughts on Interesting Research Issues,” Franchising
                 Research: An International Journal, 1, 1996, 29-32.
                 “Retail Contracting and Costly Monitoring: Theory and Evidence” (with Margaret Slade),
                 European Economic Review Papers and Proceedings, 40, 1996, 923-932.
                 “Assessing Firm and Sector Effects in Franchise Contracting,” in Ann Dugan, Ed., Tenth
                 Annual Proceedings of the Society of Franchising, 1996.




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  Articles and   “Double-Sided Moral Hazard and the Nature of Share Contracts” (with Sugato Bhattacharyya),
Book Chapters    RAND Journal of Economics, 26, 1995, 761-781.
      (cont’d)           Reprinted in Franchise Contracting and Organization, Northampton, MA: Edward
                         Elgar, 2005.
                 “The Role of Risk in Franchising” (with Sugato Bhattacharyya), Journal of Corporate Finance:
                 Contracting, Governance, and Organization, 2, 1995, 39-74.
                         Reprinted in Franchise Contracting and Organization, Northampton, MA: Edward
                         Elgar, 2005.
                 “Franchise Contracting, Organization, and Regulation: Introduction” (with Scott Masten),
                 Journal of Corporate Finance, 2, 1995, 1-7.
                 “A Critical Appraisal of Data Sources on Franchising,” Journal of Marketing Channels, 4,
                 1995, 5-25.
                         Reprinted in Franchising: Contemporary Issues and Research, P.J. Kaufmann and R.P.
                         Dant Eds, New-York: The Haworth Press, 1995.
                 “Costs of Control: The Source of Economic Rents for McDonald's Franchisees” (with Patrick J.
                 Kaufmann), Journal of Law and Economics, October 1994, 417-453.
                         Reprinted in Case Studies in Contracting and Organization, Scott E. Masten Ed., New
                         York: Oxford University Press, 1996.
                         Reprinted in Franchise Contracting and Organization, Northampton, MA: Edward
                         Elgar, 2005.
                 “The Evolution of Franchise Systems” (with Patrick J. Kaufmann), Journal of Retailing, 70,
                 1994, 97-113.
                 “Risk in Franchising: A Look at Some Measurement Issues,” in S. Swerdlow Ed., Eighth
                 Annual Proceedings of the Society of Franchising, 1994.
                 “Contractual Arrangements as Signaling Devices: Evidence from Franchising,” Journal of Law,
                 Economics & Organizations, 9, 1993, 256-289.
                 “Agency Theory and Franchising: Some Empirical Results,” RAND Journal of Economics, 23,
                 1992, 263-283.
                         Reprinted in Franchise Contracting and Organization, Northampton, MA: Edward
                         Elgar, 2005.

                 “How and Why Do Franchisors do What They do: A Survey Report,” in P. Kaufmann Ed.,
                 Sixth Annual Proceedings of the Society of Franchising, 1992.
                 “Obtaining any Wald Statistic You Want,” (with Ken White), Economics Letters, 21, 1986, 35-
                 40.

        Other    “Foreward,” Handbook of Research on Franchising, Frank Hoy, Rozenn Perrigot, and Andrew
  Publications   L. Terry, ed., Edward Elgar Publishing, forthcoming.
                 “On Teaching Economics to MBA Students,” in Newsletter of the Committee on the Status of
                 Women in the Economics Profession, American Economic Association’s CSWEP, Winter 2006.
                 Review of “Franchising: A Case-Study Approach,” by Antony Dnes, Aldershot, England:
                 Avebury, Journal of Institutional and Theoretical Economics, 150, June 1994, 423-424.

     Work in     Presumptions in Vertical Mergers: The Role of Evidence (with Margaret Slade)
     Progress    The Determinants of Ownership Concentration in Franchised Chains




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     Work in     Entrepreneurship, Business Creation and Business Survival in Retail and Small-Scale Service
     Progress    Industries (with Jagadeesh Sivadasan)
     (cont’d)
                 Where Do the Chains Go? The Evolution of Retail Markets (with Kathryn L. Shaw)

      Seminar    Cornell University, Dyson School of Applied Economics and Management, Dec. 2020
 Presentations   John Hopkins University, Carey Business School, March 2017.
   since 2005
                 University of Michigan, Ross School of Business, Hosmer Seminar, Sept. 2016.
                 Emory University, Goizueta Business School, Jan. 2014
                 Indiana University, Kelley School of Business, Business Economics Seminar, Dec. 2013
                 Columbia University, Management Area Seminar, Dec. 2013
                 Georgetown University, Center for Business and Public Policy Seminar, McDonough School of
                 Business, Nov. 2013
                 Toulouse School of Economics, Dept. of Economics, October 2013.
                 USC Marshall School, Business Economics Area Seminar, September 2013.
                 HKUST, Department of Economics, Hong Kong, April 2013.
                 MIT Organizational Economics Luncheon, March 2013.
                 Northeastern University, Dept. of Economics, March 2013.
                 Stanford GSB, Applied Microeconomics Seminar, Dec. 2012
                 Stanford GSB, Econ Brown Bag, Nov. 2012
                 UC Berkeley, Dept. of Economics, Nov. 2012
                 University of Toronto, Rotman School of Business, April 2012.
                 Boston University, Dept. of Economics, April 2012.
                 MIT, Organizational Economics Seminar, March 2012.
                 University of Michigan Ross School of Business, January 2012.
                 Columbia University GSB, Nov. 2011.
                 Katholieke Universiteit Leuven, Faculty of Business and Economics, March 2011.
                 University of Mannheim, Department of Economics, March 2011.
                 University of Zurich, Department of Economics, March 2011.
                 Federal Trade Commission, December 2010.
                 University of Virginia, Department of Economics, November 2010.
                 University of Missouri, Department of Economics, December 2009.
                 Ecole des Hautes Etudes Commerciales, Université de Montréal, November 2009.
                 Université de Paris X (Nanterre), Département d’économie, June 2008.
                 University of Maryland, Robert H. Smith School of Business, March 2008.
                 University of Florida, Dept. of Economics, November 2007.
                 Carnegie Mellon University, John Heinz III School of Public Policy and Management, Nov.
                 2007.
                 Charles Rivers Associates Competition Practice – Executive Retooling Course, November
                 2007.
                 Joint MIT/Harvard Organizational Economics Seminar, November 2007.



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      Seminar    New York State Bar Association, May 2007.
 Presentations   Western Michigan University, Department of Economics, February 2007.
   since 2005
      (cont’d)   University of Michigan, Ross School of Business, Hosmer Seminar, January 2007.
                 University of Rochester, Simon School of Business, December 2006.
                 Ohio State University, Department of Economics, December 2006.
                 University of California, Berkeley, Haas School of Business, November 2006.
                 University of Colorado, Department of Economics, October 2006.
                 University of Arizona, Eller School of Management, March 2006.
                 Cornell University, Department of Economics, November 2005.
                 NYU, Stern School of Business, Cross Disciplinary Strategy Seminar, October 2005.
                 University of Arizona, Eller School of Management, September 2005.
                 University of Michigan, Ross School of Business, Hosmer Seminar, March 2005.

  Conference     “Presumptions in Vertical Mergers: The Role of Evidence,” presented at the Southern Economic
 Participation   Association Meetings 90th Annual Meeting, session on the 2020 Vertical Merger Guidelines,
   since 2005    November 21-23, 2020.
                 Chair, Panel on “The CMA Digital Advertising Report,” CCP 16th Annual Conference,
                 Updating for the Digital Dimension Vertical Relations and Platforms, July 8-10, 2020.
                 “The Recent Evolution of Physical Retail Markets: Online Retailing, Big Box Stores, and the
                 Rise of Restaurants,” The Role of Innovation and Entrepreneurship in Economic Growth,
                 NBER conference, Palo Alto, Jan 7-8, 2020.
                 Panelist, “Culture and Norms Inside Organizations”, Allied Social Sciences Association
                 (ASSA), San Diego, Jan. 2020.
                 Discussant, Twelfth Annual Conference on Antitrust Economics and Competition Policy, Sept.
                 20-21, 2019, Northwestern Pritzker School of Law in Chicago, IL.
                 “The Recent Evolution of Physical Retail Markets: Online Retailing, Big Box Stores, and the
                 Rise of Restaurants,” Beyond 140 Characters: The Role of Innovation and Entrepreneurship in
                 Economic Growth, NBER pre-conference, Boston, July 2019.
                 Presidential Address, 23rd Annual Conference of the Society for Institutional & Organizational
                 Economics, Stockholm, Sweden, June 2019.
                 Discussant, 5th Workshop on Relational Contracts, June 24-25.
                 “Where to from Here? Industrial Organization, Organizational Economics, and Public Policy,”
                 18th Institutional and Organizational Economics Academy, Institut d’études scientifiques,
                 Cargèse, Corsica, France, May 19-23, 2019.
                 Session Chair, International Industrial Organization Conference, Boston, MA, April 2019.
                 Panelist, Federal Trade Commission Hearings, Hearing #5: Vertical Merger Analysis and the
                 Role of the Consumer Welfare Standard in U.S. Antitrust Law, Washington DC, Nov. 2018.
                 Panelist, “Cutting Edge Issues in Antitrust Economics,” Washington DC, November 2018.
                 Master of Ceremony and Keynote Speaker Introductions, 22nd Annual Conference of the
                 Society for Institutional & Organizational Economics, Montréal, Québec, June 2018.
                 “Brighter Prospects? Assessing the Franchise Advantage using Census Data,” Queen's
                 Organizational Economics (OE) Conference, Kingston, Ontario, June 2018.
                 Discussant, Allied Social Sciences Association (ASSA), Philadelphia, Jan. 2018.



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  Conference     Panelist, “The Economics of Vertical Restraints,” Antitrust Judicial Training Institute, Oct.
 Participation   2017.
   since 2005    Plenary Session, “Assets, Contracts, and Organizations: Past, Present and Future: Evidence,”
                 Session in Honor of 2016 Nobel Prize Winners Oliver Hart and Bengt Holmstrom, Society for
                 Institutional and Organizational Economics Meetings, Columbia U., New-York, June 2017.
                 Panelist, “How Is Healthcare Changing? How Is the Government Responding?” Cornerstone
                 Research and Stanford Institute for Economic Policy Research (SIEPR), Jan 26, 2017.
                 Discussant, Allied Social Sciences Association (ASSA), Jan. 5-8, 2017.
                 Discussant, NBER Organizational Economics Meeting, Nov. 18-19, 2016
                 Panelist, “Economics at the FTC,” 9th Annual FTC Microeconomics Conference, Nov. 3-4,
                 2016.
                 Discussant, CUNEF’s 2nd Workshop on Relational Contracts, Madrid, Sept. 2016.
                 Keynote Address, Antitrust, Consumer Protection and Organizations, CEPR Organizational
                 Economics Meeting, Munich, September 2016.
                 Discussant, MaCCI Summer Institute in Competition Policy, Bamberg Germany, June 20-24,
                 2016.
                 Panelist, “Different strokes for different folks: Regulating distribution practices in the US and
                 EU,” GCR Live 5th Annual Antitrust Law Leaders Forum, Miami, FL, Feb. 2016.
                 Opening Remarks, Auto Distribution: Current Issues & Future Trends, Federal Trade
                 Commission, Jan. 19, 2016.
                 Organizations and Policy, Fall 2015 NBER Organizational Economics Conference, Dec. 4-5,
                 2015.
                 Keynote Address, “What is Competition and How it is Substantially Lessened?” 2015
                 Competition and Consumer Workshop, Law Council of Australia, Business Law Section, Aug.
                 14-16, 2015.
                 “Who controls the access to information? The role of intermediaries in the Digital Economy”
                 (with Jean Tirole), presented at The Future of Research in the Digital Society, organized by the
                 Toulouse School of Economics and the French Ministry of Culture and Communication, June
                 26, 2015.
                 “The Use of Economics in Competition Policy at the FTC,” seminar presentation, French
                 Competition Authority, June 25, 2015.
                 Panelist, Agency Update with the FTC Bureau Directors, American Bar Association Spring
                 Meeting, Washington DC, March 2015.
                 Panelist, Roundtable with Agency Heads of Economics, GCR Live 4th Annual Antitrust Law
                 Leaders Forum, Miami FL, February 2015.
                 Panelist, Internet Distribution: Is Competition Enforcement Threatening Efficient Retailing
                 Arrangements? CRA Annual Brussels Conference: Economic Developments in European
                 Competition Policy, Brussels, Belgium, Dec. 2014.
                 “Serial Entrepreneurship: Learning by Doing?” NBER Summer Institute, Entrepreneurship
                 Working Group Meeting, July 2014.
                 Discussant, “Economic Impact of Research: Innovation Panel,” Workshop on Science of
                 Science Policy, Ann Arbor, MI, June 2014.
                 Panelist, FTC’s Conditional Pricing Practices Workshop, June 2014.
                 “Serial Entrepreneurship: Learning by Doing?” International Society of New Institutional
                 Economics Meetings, Duke University, Raleigh-Durham, June 2014.
                 “Formula Pricing and Profit Sharing in Franchising” presented at the International Workshop on
                 Franchising, Retail & Service Chains, Université de Rennes 1, June 2014.
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Conference      “Franchising: Economics and Policy” presented at the International Workshop on Franchising,
Participation   Retail & Service Chains, Université de Rennes 1, June 2014.
since 2005
                “Serial Entrepreneurship: Learning by Doing?” International Industrial Organization
(cont’d)        Conference, Northwestern University, Chicago, April 2014.
                “Survival Prospects of Franchised and Independently Owned Businesses: A New Look”
                International Society of Franchising 28th Annual Meetings, New Orleans, Feb. 2014.
                “Financial Constraints and Franchising Decisions” Allied Social Sciences Association (ASSA)
                Meetings, Jan. 2014.
                “Financial Constraints and Franchising Decisions” 6th Annual FTC Microeconomics
                Conference, Washington, DC, November 2013.
                “Financial Constraints and Franchising Decisions” European Association for Research in
                Industrial Economics (EARIE) Conference, Evora Portugal, Aug. 30-Sept. 1 2013.
                “Delegation and Pay-for-Performance: Evidence from Industrial Sales Forces,” International
                Society of New Institutional Economics Meetings, Florence, Italy, June 2013.
                “Financial Constraints and Franchising Decisions” International Society of Franchising 27th
                Annual Meetings, Beijing Normal University at Zhuhai, March 2013.
                “Delegation and Pay-for-Performance: Evidence from Industrial Sales Forces,” ASSA
                Meetings, San Diego, CA, Jan. 2013
                Keynote, 5th Annual FTC Microeconomics Conference, Washington, DC, November 2012.
                Session Chair and Discussant, 10th Annual International Industrial Organization Conference,
                Washington DC, March 2012.
                NBER Organizational Economics Meetings, Nov. 19, 2011.
                “Scale, Scope, and the Growth of Chains,” Invited Session, European Association for Research
                in Industrial Economics (EARIE) Conference, September 1-3, 2011, Stockholm, Sweden.
                Discussion of Wouter Dessein’s “Incomplete Contracts and Boundaries of the Firm: A Survey”
                at the Grossman and Hart at 25 conference, Université libre de Bruxelles and the Solvay
                Brussels School of Economics and Management, June 24-26, 2011.
                Discussant for Guiso and Zingales’ “The Value of Social Networks in Bank Lending” at the
                “Vertical Restraints and Foreclosure: Evidence” ECN (European Competition Network) Chief
                Economists Meeting, Brussels, June 21, 2011.
                “Scale, Scope and Takeovers: Evidence from Franchised Chains,” International Society of
                Franchising 25th Annual Meetings, Boston University, June 16-18, 2011.
                “Delegation and Pay-for-Performance: Evidence from Industrial Sales Forces,” NBER
                Organizational Economics Meetings, Boston, MA, May 13-14, 2011.
                Session Chair and Discussant, 9h Annual International Industrial Organization Conference,
                Washington DC, April 2011.
                Session Chair, IOS Sessions at the Allied Social Sciences Association (ASSA) Meetings, Jan.
                2011.
                “Adaptation and Organizational Form in Franchising,” Workshop on the Adaptation of
                Contracts to Changed Circumstances and Vertical Integration, Copenhagen Business School,
                October 29, 2010.
                “Organizational Form and Performance: Evidence from the Hotel Industry,” Centre for
                Competition Policy 6th Annual Conference, University of East Anglia, June 2010.
                “Inter-Firm Contracts: Evidence,” 8th European School on New Institutional Economics,
                Institut d’études scientifiques, Cargèse, Corsica, France, May 31- June 4, 2010.
                “Too Far Away? Examining How Distance to Headquarters Hurts Business Establishment
                Performance,” International Industrial Organization Conference, Vancouver BC, May 2010.

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  Conference     FTC, Panel on Resale Price Maintenance Presentation, May 2009.
 Participation   “Scale, Scope and Takeovers: Evidence from Franchised Chains,” Industry Studies Association
   since 2005    Conference, Chicago, May 2009.
      (cont’d)
                 “Scale, Scope and Takeovers: Evidence from Franchised Chains,” International Industrial
                 Organization Conference, Boston, MA, April 2009.
                 “Regulatory Stability and Organizational Form Decisions: Evidence from Within the Firm,”
                 23rd International Society of Franchising Meetings, San Diego, CA, February 2009.
                  “Why Research Entrepreneurship,” Second Annual Ross School of Business Entrepreneurship
                 Workshop, Ann Arbor Michigan, July 2008.
                 “Organizational Form and Performance: Evidence from the Hotel Industry,” 22nd International
                 Society of Franchising Meetings, Saint-Malo, France, June 2008.
                 “The Evolution of Franchising and Franchise Contracts in the United States,” Entrepreneurial
                 Business Law Journal Symposium 2008, The Ohio State University Moritz College of Law,
                 March 2008.
                 “Organizational Form and Performance: Evidence from the Hotel Industry,” ASSA Meetings,
                 New Orleans, January 2008.
                 “The Role of Revenue Sharing in Movie Exhibition Contracts,” NBER IO Summer Institute,
                 July 2007.
                 “There’s no Place Like Home: The Effect of Geographical Distance on the Survival of Service
                 and Retail Businesses,” First Annual Ross School of Business Internal Entrepreneurship
                 Workshop, Ann Arbor Michigan, April 2007.
                  “Organizational Form and Performance: Evidence from the Hotel Industry,” Fifth Annual
                 International Industrial Organization Conference, Savannah GA, April 2007.
                 “Organizational Form and Performance: Evidence from the Hotel Industry,” Sloan Industry
                 Program Annual Meeting, Boston MA, April 2007.
                 “The Microeconomic Implications of Input Market Regulations: Cross-Country Evidence from
                 Within the Firm,” American Economic Association, Chicago IL, January 2007.
                 “The Microeconomic Implications of Input Market Regulations: Cross-Country Evidence from
                 Within the Firm,” NBER Productivity Meeting, Boston MA, December 2006.
                 “Inter-Firm Contracts: The Evidence,” NBER Organizational Economics Handbook Meeting,
                 Palo Alto, November 2006.
                 “Within-firm Labor Productivity across Countries: Evidence from Fast-food,” International
                 Industrial Organization Conference, Boston MA, April 2006.
                 “Firm Survival and Growth in Retail and Service Industries: Evidence from Franchised Chains,”
                 NBER Entrepreneurship Conference, Boston MA, March 2006.
                 “Within-firm Labor Productivity across Countries: Evidence from Fast-food,” Sloan Industries
                 Project Meeting, Stanford University, January 2006.
                 “The Deregulation of International Trucking in the European Union: Form and Effect,” Annual
                 Sloan Industry Studies Conference, Boston, December 2005.
                 Panelist, “Global Value Chains Governance and Enablers: Franchising,” Annual Sloan Industry
                 Studies Conference, Boston, December 2005.
                 “Firm Survival and Growth in Retail and Service Industries: Evidence from Franchised Chains,”
                 International Industrial Organization Conference, Atlanta, GA, April 8-9, 2005.
                 Discussant, NBER IO Winter Meeting, “Decision Rights and Vertical Integration in the Movie
                 Industry,” by Ricard Gil, February 2005 (note: the discussant presents the paper at this
                 conference).


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 PhD Student      Travis Triggs, UM Department of Economics, expected Summer 2021.
 Advising and     Colin Watson, UM Department of Economics, PhD Fall 2020, Amazon.
  Committees
       (Initial   Andrew Usher, UM Department of Economics, PhD Summer 2020.
  Placement)      Alexandr Moskalev, UM Department of Economics, PhD Summer 2020.
                  Qing Zheng, School of Public Health, UofM, PhD Summer 2018 (Abt Associates).
                  Xu Zhang, Ross School of Business, Business Economics, PhD May 2018 (London Business
                  School).
                  Danial Asmat, Ross School of Business, Business Economics, PhD Summer 2015 (Antitrust
                  Division, Department of Justice).
                  Changkeun Lee, UM Department of Economics, PhD Summer 2015 (Korean Development
                  Institute).
                  James Wang, UM Department of Economics, PhD May 2015 (Federal Reserve).

                  Sasha Brodsky, Ross School of Business, Business Economics, PhD 2014 (Analysis Group).
                  Christina DePasquale, Ross School of Business, Business Economics, PhD 2014 (Emory
                  University Economics Dept.).
                  Marek Zapletal, Ross School of Business, International Business & Business Economics, PhD
                  2014 (Brattle Group).
                  Adithya Pattabhiramaiah, Ross School of Business, Marketing, PhD 2014 (Georgia Tech).
                  Bo Zhao, Ross School of Business, International Business & Business Economics. PhD 2013,
                  (Hong Kong U.).
                  Elena Patel, UM Department of Economics, PhD 2013 (U.S. Department of the Treasury).
                  Elena Kulchina, Rotman School of Business, PhD 2012 (Duke University).
                  Matthew Backus, UM Department of Economics, PhD 2012 (EBay Post-Doc, then Cornell)
                  Dmitry Lubensky, UM Department of Economics, PhD 2011 (U. of Indiana).
                  Xiaoyang Li, Ross School of Business, International Business & Business Economics, PhD
                  2011 (Cheung Kong GSB).
                  Min-Seok Pang, Ross School of Business, Business Information Technology, PhD 2011
                  (George Mason U.).
                  Nathan Wilson, Ross School of Business, International Business & Business Economics, PhD
                  2010 (FTC).
                  Bo Huang, Ross School of Business, International Business & Business Economics, PhD 2010
                  (HEC Paris).
                  Desmond Lo, Ross School of Business, Marketing, PhD 2008 (Santa Clara U).
                  Charles Taragin, UM Department of Economics, PhD 2007.
                  David Leibsohn, Ross School of Business, International Business, PhD 2007.
                  Zhou Yang, UM Department of Economics, PhD 2007.
                  Alyssa Pozniak, UM School of Public Health, PhD 2006.
                  David Greenstreet, UM Department of Economics, PhD 2006 (LSE Post-Doc).
                  Rupinder Jindal, INSEAD, PhD 2006.
                  Michael Rimler, UM Department of Economics, PhD 2005.Amrita Nain, Ross School of
                  Business, Finance, PhD 2005.



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 PhD Student      Laura Malaguzzi, UM Department of Economics, PhD 2005.
 Advising and     Hong Yuan, Ross School of Business, Marketing, PhD 2005.
  Committees
       (Initial   Rozenn Perrigot, Université de Rennes I, Sciences de la Gestion, Doctorat (PhD) 2004.
  Placement)      Sebastian Auguste, UM Department of Economics, PhD 2004.
        cont’d    Renáta Kosová, UMBS, International Business, PhD 2004 (George Washington U.).
                  Anne Parmigiani, UMBS, Corporate Strategy, PhD 2003.
                  Su Sun, UM Department of Economics, PhD 2003.
                  Juan Alcacer, UMBS, International Business, PhD 2001 (NYU).
                  Wendy Petropoulos, UM Economics Dept., PhD 2000 (Lexecon).
                  Margaret Shackell Dowell, UMBS, Accounting, PhD 1999.
                  Yuping Liao, UM Economics Dept., PhD 1998.
                  Arturs Kalnins, UMBS, International Business, PhD 1998 (USC)
                  Peter Swan, UMBS, Operations Management, 1997.
                  Julia Cheung, UM Economics Dept., PhD 1996.
                  Chul-In Lee, UM Economics Dept., PhD 1996.
                  Daniel Ebels, UMBS, Finance, PhD 1995.
                  Kostas Axarloglou, UM Economics Dept., PhD 1995.

    Teaching      Applied Industrial Economics (Michigan, PhD).
   Experience     Applied Intermediate Microeconomics (Michigan, MBA Core, GMBA Core).
                  Applied Microeconomics for Entrepreneurs (MBA Essentials program).
                  Applied Intermediate Microeconomics (Michigan, BBA Core).
                  Business Economics for the Entrepreneur (MsE core).
                  Competitive Tactics (Michigan, MBA elective).
                  Economie des Organisations II, Université de Paris I - Panthéon Sorbonne
                  The Economics of Franchising (Michigan, MBA elective).
                  Government and Business (Michigan, BBA Core).
                  Growth and Globalization (Michigan, PhD).
                  Industrial Organization (Carnegie Mellon U., Undergraduate Economics Program).
                  Introduction to Ross: Foundations for Learning Business (Michigan, BBA core).
                  Introductory Marketing (Carnegie Mellon U., Undergraduate Business Program).
                  Managerial Economics (Florida, Undergraduate Business Program, Core).
                  Ross PhD Program Proseminar
                  Principles of Economics (U. of British Columbia, Undergraduate).
                  Ross School of Business Senior Thesis Seminar (Michigan, BBA)
                  Topics in Industrial Organization (Carnegie Mellon U., Ph.D. Seminar).
                  UROP Advisor, (U. of Michigan, LS&A), 1991-92, 1992-93, 1993-94, 1994-95, 1995-96, 2001-
                  02, 2002-03, 2003-04, 2004-05, 2005-06.




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Cases Written      Franchisee McCosts (with Valerie Suslow).
                   Franchise Failure Risk. Updated Fall 2018.
                   Movies at your Disposal (with Thomas Buchmueller).
                   Pricing Games: Sony PlayStations and Microsoft Xbox (with Valerie Suslow).
                   Franchising, Product Risk, and Liability.
                   Sensing Profits.

Executive          Program Redevelopment, Faculty Director and Faculty Member, NFL Franchising Bootcamp,
Education          March. 2020.
                   Program Redevelopment, Faculty Director and Faculty Member, NFL Franchising Bootcamp,
                   March. 2019.
                   Director and Faculty Member, NFL Business Academy, Feb. 2018.
                   Director and Faculty Member, NFL Business Academy, Feb.-March 2017.
                   Director and Faculty Member, NFL Business Academy, Feb.-March 2016.
                   Director and Faculty Member, NFL Franchising Bootcamp, April 2015.
                   Program Development, NFL Franchising Bootcamp, (program organized by Ross School of
                   Business and International Franchise Association), 2013.

      Editorial    Co-editor, Journal of Economic and Management Strategy, 2017-
Responsibilities
                   Co-editor, Journal of Economic and Management Strategy, 1997-2014
                   Member of the Editorial Board, Journal of Marketing Channels, 2002-2014.
                   Co-editor, Journal of Law, Economics, & Organization, 2006-2012.
                   Associate Editor, The RAND Journal of Economics, 1997-2007.
                   Member of the Editorial Board, The Journal of Retailing, 1996-2003.
                   Member of the Editorial Board, Economic In?uiry, 1997-2001.
                   Member of the Editorial Board, Actualité Economique, 1996-99.
                   Member of the Editorial Board, Franchising Research: An International Journal, 1996-97.
                   Member of the Editorial Board, Canadian Journal of Economics, 1993-96.
                   Special Co-Editor (with Scott Masten), Journal of Corporate Finance: Contracting,
                   Governance, and Organization, special issue on Franchise Contracting, Organization and
                   Regulation, 1995.




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   Refereeing    Academy of Management Journal, American Economic Review, Canadian Journal of
                 Economics, Economic In?uiry, Energy Studies Review, European Economic Review, European
                 Journal of Law and Economics, Franchising Research: An International Journal, Industrial and
                 Labor Relations Review, International Economic Review, International Journal of Industrial
                 Organization, International Review of Law and Economics, Journal of the Academy of
                 Marketing Science, Journal of Business, Journal of Business Venturing, Journal of Consumer
                 Marketing, Journal of Corporate Finance, Journal of Economic Behavior and Organization,
                 Journal of Economics and Business, Journal of Economics and Management Strategy, Journal
                 of Industrial Economics, Journal of Institutional and Theoretical Economics, Journal of Law
                 and Economics, Journal of Law, Economics & Organization, Journal of Legal Studies, Journal
                 of Marketing, Journal of Marketing Channels, Journal of Marketing Research, Journal of
                 Political Economy, Journal of Public Policy in Marketing, Journal of Retailing, Management
                 Science, Managerial and Decision Economics, Marketing Science, National Science Foundation
                 (economics tract), National Science Foundation (organizations tract), Operations Research,
                 Organization Science, Oxford Economic Papers, Quarterly Journal of Economics, RAND
                 Journal of Economics, Review of Economics and Statistics, Review of Economic Studies,
                 Review of Industrial Organization, Social Sciences and Humanities Research Council of
                 Canada, Society of Franchising Meetings and Proceedings, Southern Economic Journal, The
                 Strategic Management Journal, World Development.

Service Work,    Associate Dean for Business + Impact, Ross School of Business, July 2020 -
      Internal   Senior Associate Dean, Ross School of Business, Jan. 2016 – June 2020
                 Business Economics PhD Advisor and PhD Committee, 2013-2014.
                 Chair, Business Economics and Public Policy, Ross School of Business, 2003-2012.
                 Dean Search Committee Member, 2010-11.
                 Chair, Research Committee, 2007-08 and 2008-09.
                 Organizer (with Rosemarie Ziedonis), Ross School of Business Second Annual
                 Entrepreneurship Workshop, July 2008.
                 Organizer (with Rosemarie Ziedonis), Ross School of Business First Annual Internal
                 Entrepreneurship Workshop, April 2007.
                 Organizer (with Rosemarie Ziedonis), Perspectives on Entrepreneurship Conference, Ross
                 School of Business, University of Michigan, June 15, 2007.
                 Core Course Coordinator: BE300: 1993-94, BE501: 1995-96, 2000-01, 2001-02, BE 502: 2007-
                 2008, 2008-09, 2009-10, 2010-11, 2011-12.
                 Organizer of the Business Economics Workshop, University of Michigan, 1991-92, 1992-93,
                 1993-94, 1994-95, 1995-96, 1996-97, 1998-99, 1999-00, 2000-01, 2001-02, 2002-03.
                 Faculty Recruiting, various years.
                 MBA Admissions Task Force, 2002-03.
                 Executive Committee, 2000-02.
                 Strategic Planning Committee, 1999-2000.
                 Information Resource Committee, 1998-99.
                 BE PhD Faculty Advisor, 1995-96, 1996-97, and 1998-99.
                 Diversity Committee, 1998-99.
                 Research Computing Committee, 1992-93, 1993-94, 1994-95, 1995-96, 1996-97.




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Service Work,    Organizer, conference on Franchise Contracting, Organization, and Regulation, held at the U. of
      Internal   Michigan Business School, Ann Arbor, MI, May 27, 1994.
                 Dean Search Committee, GSIA, CMU, 1990-91.
      (cont’d)
                 Recruiting Chair for Marketing, GSIA, CMU, 1989-90.

Service Work,    Executive Committee, ISR, 2020-21
   University    Culture Education Advisory Group, 2019-
                 Ad Hoc COVID Group on Graduate & Professional Student Issues, Spring/Summer 2020.

Service Work,    Board Member, Industrial Organization Society, 2017-
      External   President, Society for Institutional & Organizational Economics, 2018-19.
                 Committee Member, External Review of the Department of Economics (UQTAP), University of
                 Toronto, Summer 2018.
                 President-Elect and Conference Program Chair, Society for Institutional & Organizational
                 Economics, 2017-18.
                 Committee Member, External Review of the Department of Economics, Copenhagen Business
                 School, June 2014.
                 Board Member, International Society of New Institutional Economics, 2012-2014.
                 President and Conference Organizer, Industrial Organization Society, 2010-11 (Vice-President,
                 2008-10).
                 Board Member, Industrial Organization Society, 2008-2014.
                 Program Committee Member, International Society of New Institutional Economics, 2014.
                 Executive Committee, International Society of Franchising, 2007-2014.
                 Scientific Committee, 2012 FTC Microeconomic Conference.
                 NSF Advisory Panel, Economics, 2010-12.
                 Program Committee Member, International Industrial Organization Conference, 2005, 2006,
                 2007, 2008, 2009, 2010, 2011, 2012, 2013.
                 Organizer, Industrial Organization Society Sessions at the Allied Social Sciences Association,
                 2008, 2009, 2010, 2011.
                 Committee Member, External Review of the Department of Economics, Georgia Tech
                 University, 2005 and 2010.
                 Organizer, Society of Franchising 12th Annual Conference, March 1998, Las Vegas, Nevada,
                 and co-organizer, International Society of Franchising 25th Annual Conference, June 2010,
                 Boston MA.
                 Program Committee Member, Sloan Industry Studies Conference, 2009.
                 Committee Member, External Review of the Institute of Policy Analysis, University of Toronto,
                 Dec. 2006.
                 Senior Faculty Advisor, CSWEP Mentoring Workshop, San Diego, January 5-7, 2004.

     Society     American Economic Association, European Economic Association, Industrial Organization
 Memberships     Society, Society for Institutional & Organizational Economics




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